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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                               CASE NO. 1:99-cr-00030-MP

STACY RAMONE BASKIN,

      Defendant.
___________________________/

                                         ORDER

       This matter is before the Court on Doc. 152, Motion to Change Revocation Hearing Time

And/or Date, filed by Stacy Ramone Baskin. The government does not oppose the motion, and it

is granted. The revocation hearing will be held on Wednesday, August 1, 2007, at 3:00 p.m.




       DONE AND ORDERED this 15th day of June, 2007


                                     s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
